         Case 2:24-mj-16111-JRA                                     Document 161                              Filed 06/28/24        Page 1 of 1 PageID: 313
DNJ-CR-011   (3/2010) Appearance Bond

                                               UNITED STATES DISTRICT COURT
                             For the                                                District of                                  NEW JERSEY


         UNITED STATES OF AMERICA
                    V.
                                                                                                          APPEARANCE BOND

             CHAJUAN HEMINGWAY
                           Defendant
                                                                                                                     Case Number:    24-mj-16111-JRA-14

        Non-surety: I, the undersigned defendant acknowledge that I and my ...
         Surety: We, th~d • ed,jointly and severally acknowledge that we and our ...
personal represe~/,Jointly a6d s't;verally, are bound to pay to the United States of America the sum of
$    t> o ov '       SECURED I ;J1,CURED
                                              -----,/
         The con •• onsoHhis bond are that the defendant                                                                    CHAJUAN HEMINGWAY
                                                                                                                                        (Name)
is to appear before this court and at such other places as the defendant may be required to appear, in accordance with any
and all orders and directions relating to the defendant's appearance in this case, including appearance for violation of a
condition of defendant's release as may be ordered or notified by this court or any other United States District Court to which
the defendant may be held to answer or the cause transferred. The defendant is to abide by any judgment entered in such
matter by surrendering to serve any sentence imposed and obeying any order or direction in connection with such judgment.

        It is agreed and understood that this is a continuing bond (including any proceeding on appeal or review) which shall
continue until such time as the undersigned are exonerated.

         If the defendant appears as ordered or notified and otherwise obeys and performs the foregoing conditions of this
bond, then this bond is to be void, but if the defendant fails to obey or perform any of these conditions, payment of the
amount of this bond shall be due forthwith. Forfeiture of this bond for any breach of its conditions may be declared by any
United States District Court having cognizance of the above entitled matter at the time of such breach and if the bond is
forfeited and if the forfeiture is not set aside or remitted, judgment, may be entered upon motion in such United States
District Court against each debtor jointly and severally for the amount above stated, together with interest and costs, and
execution may be issued and payment secured as provided by the Federal Rules of Criminal Procedure and any other laws
of the United States.

          This bond is signed on _ _ _ _6_12_8_/_2_4_ _ _ _ at                                                       NWK         , New Jersey
                                                                         Date                                                                 Place

Defendant    -k....
                17 ........c....P.:;..;...Aa...X""""-r!t-'--',.-""'b....
                                                                    o .......N,
                                                                             .......            Jo>,.=---- Address
                                                                                  r ....2....c.....
                                                                                                                        (City & State Only)
Surety       _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ Address
                                                                                                                        (City & State Only)
Surety       _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ Address
                                                                                                                        (City & State Only)
          Signed and acknowledged before me on                                    6/28/24

                                                                                   Date




                            Judicial Officer
